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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF LOUISIANA

IN RE: Oil Spill by the Oil Rig)

“Deepwater Horizon” ) MDL 2179

In the Gulf of Mexico. ) SECTION J

On April 20, 2010 )
This document relates to: ) JUDGE BARBIER
No. 12-970, Bon Secour )
Fisheries, Inc., et al v. BP ) MAG. JUDGE SHUSHAN

)
And All Actions )
PROOF OF SERVICE

I do hereby certify that copies of the foregoing Motion to Confirm Arbitration Award and
Memorandum of Authorities In Support Of Motion to Confirm Arbitration Award have been served
on all Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with
Pretrial Order No. 12 and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF System

which will send a notice of electronic filing in accordance with the procedures established in MDL
2179, on this 8 day of , 2014.

RESPECTFULLY SUBMITTED,

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